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                           UNITED STATES DISTRICT COURT FOR THE

                                 SOUTHERN DISTRICT OF FLORIDA

                                            MIAMI DIVISION

                                         CASE NO. 1:24-cv-25046

   XYZ CORPORATION,

   Plaintiff,

   v.

   THE INDIVIDUALS, PARTNERSHIPS AND

   UNINCORPORATED ASSOCIATIONS IDENTIFIED

   ON SCHEDULE “A”,

   Defendants.

   _________________________________________________/

          NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY


   PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned counsel,

   Plaintiff hereby voluntarily dismisses with prejudice all claims against the following defendants:


        Def. No   Def. Name           Seller Id           Platform                    Account
         101        Fashion        63441821521              Temu            https://www.temu.com/fas
                    Buy Day            1692                                 hion-buy-day-m-
                                                                            634418215211692.html
         102         Toms          63441821594              Temu            https://www.temu.com/-
                   Little Den          6316                                 little-den-m-
                                                                            634418215946316.html
          97         Global        63441821601              Temu            https://www.temu.com/-
                      First            2693                                 first-m-
                                                                            634418216012693.html
         106          ZT           63441821692              Temu            https://www.temu.com/zt--
                    BuyBuy             6563                                 m-634418216926563.html

         107         Happy         63441821594              Temu            https://www.temu.com/-it-
                     Buy it            8552                                 m-634418215948552.html



   Respectfully submitted on this 3rd day of March, 2025.
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